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IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

SUSAN PEDER, for herself and as assignee of| CASE NO.
the CHAPTER 7 BANKRUPTCY ESTATE
OF X10 WIRELESS TECHNOLOGY, INC., [KING COUNTY SUPERIOR COURT NO. 17-
2-29638-4 SEA]

Plaintiff,
DEFENDANTS SCOTTSDALE INDEMNITY
V. COMPANY’S AND FREEDOM SPECIALTY
INSURANCE COMPANY’S NOTICE OF
SCOTTSDALE INDEMNITY COMPANY REMOVAL OF A CIVIL ACTION
also doing business as SCOTTSDALE
INSURANCE COMPANY, an insurer JURY TRIAL DEMANDED

authorized by the Washington insurance
commissioner, and FREEDOM SPECIALTY [CLERK’S ACTION REQUIRED]
INSURANCE COMPANY, an insurer
authorized by the Washington insurance
commissioner,

Defendants.

 

 

 

PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,
Defendants Scottsdale Indemnity Company and Freedom Specialty Insurance Company (collectively
“Scottsdale”), through their counsel of record, hereby remove this action from the Superior Court of

the State of Washington in and for the County of King. In support of removal, Scottsdale states as

follows:

//

//

{DFS 1661060, DOCX; 1/00335.002130/ } OGDEN MURPHY WALLACE, P.L.L.C.
SCOTTSDALE’S NOTICE OF REMOVAL - | 901 Fifth Avenue, Suite 3500

Seattle, Washington 98164-2008
Tel: 206-447-7000/Fax: 206-447-0215

 
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I. THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED.

1. Plaintiff Susan Peder (“Peder”) commenced this action on her own behalf and as

judgment creditor and assignee of X10 Wireless Technology, Inc. (“X10”) by filing a Complaint

against Scottsdale in the Superior Court of the State of Washington in and for the County of King on
or about November 14, 2017. This action was assigned Case No. 17-2-29638-4 SEA.

2. On November 15, 2017, Peder served Scottsdale with the Summons and the
Complaint for this action via the Washington State Office of the Insurance Commissioner. See
Complaint, attached hereto.

4, As required by 28 U.S.C § 1446(a) and LCR 101(b), Scottsdale is providing true and
complete copies of all the records and proceedings in the state court proceeding, which includes all
process, pleadings, and orders served upon Scottsdale. See Declaration of Daniel Shickich
(“Shickich Decl.”), Exhibit A.

5. This Notice of Removal is timely under 28 U.S.C. § 1446(b)(1), as it is being filed
within 30 days after receipt of service by Scottsdale. See Murphy Bros., Inc. v. Michetti Pipe
Stringing, Inc., 526 U.S. 344, 119 S.Ct. 1322, 143 L.Ed.2d 448 (1999).

6. Pursuant to 28 U.S.C. § 1446(d), Scottsdale will promptly file a written Notice of
Removal to Federal Court with the Clerk of the Superior Court of the State of Washington in and for
the County of King, along with a copy of this Notice of Removal. See Shickich Decl., Exhibit B.

7. Also pursuant to 28 U.S.C. § 1446(d), Scottsdale will promptly serve this Notice of
Removal, along with the Notice of Removal to Federal Court filed with the state court, upon Peder.
Il. INTRADISTRICT ASSIGNMENT IN SEATTLE IS PROPER.

8. Pursuant to the assigning criteria set forth in LCR 3(d), this action should be assigned
to a judge in Seattle, because the Superior Court of the State of Washington in and for the County of
King, where this action is currently pending, is located within the Seattle Division.

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Ill. THIS COURT HAS FEDERAL DIVERSITY JURISDICTION,

9. At the time this action was commenced, at the present time, and at all times material
to this action, Scottsdale Indemnity Company was, is, and has been an Ohio corporation with its
principal place of business in Scottsdale, Arizona. See Shickich Decl., 4 7.

10. At the time this action was commenced, at the present time, and at all times material
to this action, Freedom Specialty Insurance Company was, is, and has been an Ohio corporation with
its principal place of business in New York, New York. See Shickich Decl., § 8.

10. Upon information and belief, at the time this action was commenced, at the present
time, and at all times material to this action, Peder was, is, and has been a citizen of Washington
State residing in King County, Washington. See Complaint, § 1.

11. Plaintiff and Defendants were not citizens of the same state at any time material to
this action. Therefore, complete diversity of citizenship exists as required by 28 U.S.C. § 1332.

12. Pursuant to 28 U.S.C. § 1332(a), removal is proper because Peder is seeking damages
in excess of $75,000. More specifically, in the Complaint, Peder alleges, “Scottsdale is obligated to
pay the full amount of the $550,000 Judgment entered against X10 in the Lawsuit,” or
“fallternatively, if that Judgment represents ‘wages’ that are not covered under the Policy’s main
form, Scottsdale is obligated to pay the $250,000 of that Judgment under the Policy’s ‘Wage and
Hour Claim Endorsement.’” See Complaint, {9 44.a, 44.b. Further, Peder is seeking treble damages
and attorney fees and expenses. /d. at {J 59, 67.

13. Jurisdiction is therefore proper in this Court pursuant to 28 U.S.C. § 1332(a)(1),
which provides that the United States District Courts “shall have original jurisdiction of all civil
actions where the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs,

and is between... citizens of different states.”

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WHEREFORE, Scottsdale respectfully removes this action from the Superior Court of the
State of Washington in and for the County of King, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,
and prays the Court docket this action in this Court, and grant it all other proper relief.

DATED this 14" day of December, 2017.

OGDEN MURPHY WALLACE, P.L.L.C.

By: s/ Geoff Bridgman

By: s/ Daniel Shickich
Geoff Bridgman, WSBA #25242
Daniel F. Shickich, WSBA #46479
901 Fifth Avenue, Suite 3500
Seattle, Washington 98164-2008
Telephone: 206.447.7000
Fax: 206.447.0215
E-mail: gbridgman@omwlaw.com

dshickich@omwlaw.com

Attorneys for Defendants Scottsdale Indemnity
Company and Freedom Specialty Insurance
Company

{DFS 1661060, DOCX;1/00335.002130/ } OGDEN MURPHY WALLACE, P.L.L.C.

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CERTIFICATE OF SERVICE

I certify under the laws of the United States of America that on the 14th day of December,
2017, I electronically filed a true and correct copy of the foregoing document with the Clerk of the
Court using the CM/ECF System and served counsel below by the method indicated:

 

Bradley W. Hoff, WSBA #23974 [ | U.S. Mail
Jason R. Donovan, WSBA #40994 { | Messenger
FOSTER PEPPER PLLC [X] Email
1111 Third Avenue, Suite 3000 [X] CM/ECF

Seattle, WA 98101
bradley. hoff@foster.com
j-donovan@foster.com
Attorneys for Plaintiff

 

 

 

 

 

DATED this 14th day of December, 2017.

s/ Daniel Shickich, WSBA #46479
Daniel Shickich

{DFS1661060.DOCX;1/00335.002130/ } OGDEN MURPHY WALLACE, P.L.L.C.

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